   Case 4:21-cv-01170 Document 1-1 Filed on 04/09/21 in TXSD Page 1 of 6                                             Filed
                                                                                 -   -     -    - - -   3/172021-12`.25 PM----
                                                                                                  Beverley McGrew Walker
                                                                                                              District Clerk
                                                                                                 Fort Bend County, Texas
                                                                                                Katherine Cavazos




                                          I+7o . 21-DCV-281193

JiJLIA L . CRU:Z                                  §        TN _THE .DI.STRICT CQURT OF
                                                  ~
  S-                                              ~        FORT .BEND COUNTY,, TEXAS
                                                  §        Fort Bend County - 240th Judicial District Court
DOLGENCCORP 'SUF TEXAS',, INC'.                   §        _       JUDICIAIL DISTRICT
                                  PZ,AYNTYFF' 5,..._ORTGINAL PETIT:ION

TO THE HONORABI.E JUDGE OF SAID COURT::

           NOW       COME'S,      JULIA   L;,   CRUZ,          her.einafter     refert:ed.     to    as
'Plaintiff,, complainYng o;f D.OT,GENCORP QF -TEXA;S; INC. , :hereinafter

re£erred to as Defendant, and for cause af action would show unto.

the: Cdurt as follaw.s':

                                                      I.
           Plai:nti.ff wi.11 conrluct discovery unde.r Level 1.

                                                  IT.
       ,
       Plaint1f£ resides; at 6114:                     Chaparr-al Drive, Needville., Fo.rt.
Bend 'Cou.n.ty., T:exas 77461:.                 The; .las.t three d.a;ga;ts of the: s.ocial

secutity numb.er o..f:JULIA.;L.:CRUZ are 976 and the las.t three:.digits
                 ,
of the dr;i.ver"s license of J:ULSrA L:. CRUZ.. ;ar.e

       Defendarit, DOLGENCOR.P .OF TEXA;S:, SNC. ; is a;f.oreign, for=prafit

c.orporation do:i.ng bus.ineSs: in the .State :of Texas as DOZTfAR GENERAL
                        _ ,                                   . ....
PrOcess s.houl.d be_ s;ef'ved on :Defendant., D:OLGENCORP OF TEXAS,  INC;: ,
w.hose addreas is: 10:Q Mi.s:si.:on 'Ridge„ Goodlettsvil.le.,. Tenn..e.ssee 370.72'
                              ,
USA, ~y', servin,g its re,cgistered agent fo•r .servi,ce.,
                                                      . , Corparation


                                                   1.
           Case 4:21-cv-01170 Document 1-1 Filed on 04/09/21 in TXSD Page 2 of 6




         Serui:qe .Company d/b/a, C:SC;-Lawyers Incorporating .Ser.v.ice Comp.any,

         21_1. E.a:st Seveiith S:treet, Sui.te. 620,; Austin, Travis Cbuiiity,: Texas

         78701-32'1:8: USA or wherever: s.aid agent ma,y be fo;Eznd.



               Plai:ntiff , JUI.I1?i 'L:.. CRUZ t          affirmat.i_valy pleads that -she is
         seeki:ng damages not. in excess of. Two' Hundred Fifty Th'ousa..nd

         ($250,0'0;0._0.0:) Dollars.

                                                    IV:
               Venue is. proper i:n thi:s; distri:ct court because thi.s: d:is:tric.t

         an.d division encompas:s. the place; in which the a.nciden.t the basis of:

         thi:s ,suit occurxed r being the premises lacated a:t DOLI.AR GENER2?iL,

         13015 Hi.ghway 36., Needville, Fort Bend County,; T:exas 77461.

                                                    V.

              Plaintiff:;: JUhIA L.:       CRUZ., .a.t .a1:I times, was on the: premises

         located at. 1:30.15 High.way :3.6,, Needville., Fort Bene3: .County, T.exas
                    ,
         77d:53, known as :DOLLAR. GENEF.AL: as an invi tee of the Defendant,.

         DOLGE.NC.ORP .OF .TEX.AS:, INC. , for mutual benefit :o€ Plainti:ff :and:

         Defendant.;    Def.endant extended an:open invitat9.on to the public.,
- - --        --                                                                                 -
         _including the Plaintiff, to enter the. pr.emi ses..                 Therefore,. the
         Defendant ow.ed Pl.aintiff: A. du.ty to exercise: ord_i:nary .car.e to keep

         the: premi:ses .iri reason:alily saf`e condition, inspect the premises to



                                                    ~2 .
  Case 4:21-cv-01170 Document 1-1 Filed on 04/09/21 in TXSD Page 3 of 6




di,sc.atre~ Zatent defects, and to rnake saf:e any d.efects or give an.

adequa.te :warning of asiy dangexs.

                                       vi..
      On or about Apri:l l7, 2.01.9.,. Plaintiff,. ;JUL3A L. GRUZ., :.came

upon °th:e: premises: of DOLT,AR GENERAL, 13.015 FTighway' 36:, :Needville.,

,Fort. Bend: County, Teytas. 7'7'46I;;        occupied and inaintained by t'he
Defendant..     Af ter sh.opping,,    Pla:intiff .,.   who was carrying her
purchases , was watchirig toward. h.er vehiCl.e ;i.ri the parki:ng lo.t and

fell whe ,.she exited the DOLT1AR. GENERP;L store tii~ilds4q going. toward

hex vehi.cle in:ju:ra.ng herse'lf,,

                                      VII`,
      The -s.ncident In; ;questio.n, injuries: suf:fered by
                                                          . ;PYa.,izitif°f ;
re;sulted from the ne.g-11gence. .of the Defendant and. that of its

agen..ts, servants;   and empToye:es., acting !r+,~yt'hi,n the. sc.ope of their
empl:oyment in one: o:r.:more of the foll:owing part%c:ulars::

     1..   Faa ling to keep a ts p,roperty sa.fe for th,e public;
     Z.    Fai],ing fg warA o:f dangers on the property;.

     3:.   Faili;ng to :mai:ntaii~ the ar:ea. :in quesaion to make sure Y:ts
           paatrous tvouli3 not fal1. :and in,~ure .themselves;

     4.    Failing to ti,r:arn Plaintif.f that the: area. :i n:question was


     In: this    eonnecta'`,on,   qthile      on the Defe.ndant's. premis:es,
P7.aintiff r 3ULIA L: CRUZ:, suffered serious hodily i:riju:ra.es as a

                                       3 .,
   Case 4:21-cv-01170 Document 1-1 Filed on 04/09/21 in TXSD Page 4 of 6




direc.t r..esult of :a f;al1 pro:..ximately caused by the dangerous

conditi.on of; Defexidar'it'.s: premi5es, which Def.@ndant, its agents,,
servazit.s .; and .employees 'knew or:r in the exercise of ordiriary c.are ,
should have :kno.wn. :existed::
      Each of the foregoing a.cts and o~ni s,ss ons, singul:arly .or in
combination vith o.thers.i w.as the: proxivaate catise. of the: .incident i:n;
cques:ti.on and: the injuri:es and damages suffered. by the Plaintiff..

                                       V=II:
      In. the incident made the basi:s of th:is suit and: as a.

proximate .re:.sult of Defendant's negligence., 'Plaa,nta.ff, JULIA ;L.:
CRUZ,, sustaa ried sera;.ous and. disab.li:ng .bo.dily injurie.s, the full

extent of whidh ar.e uriknown at this tizn,e.           B,y, reas:on of her
inju:ti:es ,.Plainti:ffsustainei3 a].l of the .legal e]:ements recognized
by law :Qf physi.c"al pain an..d ment:a.l; angui.sh., physiCal i:mpaismesi.t,
and reasonabl,e and. necessary medical bi11,s and e.xpenses,. a.n.d ivi,ll,

in. a11: reasonabl.e probabili.ty continue to. sustain sucli. legal

e:l;ements. of damages in th+e future beyond the date o.f tr.ial.

Further, Plain.tiff :asks: for pre-judgluer~t interest at 'the applicabl.e
                                  --
xate at the ta:me of t;ri.al iri this cause:..

      A. adcU.tion:, P1a:i,zitiff has 1os..t wag;es ~;n. the p.ast and ha:s
sustai,ned ;a lo:sst. of' ear.ning capacity in th,e fu:tuse.



                                        4.
   Case 4:21-cv-01170 Document 1-1 Filed on 04/09/21 in TXSD Page 5 of 6




       I.n the event ths,t there a:re any pre-exi,sting conditions;,

P'laint,iff would sh.oW that the:se were asymptoma;ta.c unta,l the time: of

t e inciden;t and then were re.n.de..red. syaipto.matic.;               pairi,f'ul and
aggravat'ed., exca:ted and/or accel;e:rated liy the: incident in :guestion.



      By reason of the foreggc+ing in3uzi.es and. damages, Plaintif'f :ha's

.sustai.ned.        ages in a sum not in excess: of Two Hundred Fifty

fiho.usan'd ($250,, 0.0:0 . Q0') Dollars..

      WHEREFORE„         PREMI5ES CONSIDERED, Plaintz:ff°,;        JC7hIA L. CRUZ,
r.eqv,ests: that. De'fendant, DdLGEN.CQRP OF TEXAS, ZNC ,, :be .cited in,

terms of law to appo.as and ansiqer: ,here.irt,. that on ;E:i:nal tra.al.~:

P: ainti f      ave;:>

      S.       Judgment against Defendant-in a..sum no:t in excess of Two
               Hundred: Fi;fty .T.hous.and ($250,.000 00) Do.11:ars which. is in.
               the% jur.isdictional limi:"ts of this Court which. includes
               prejudgment .interests and.cos.ts of court:;

      2.       Postjudgment a:n:t.ere;st a.s provided. ;by law; and

      3:,      Such othe:r and. fu.rther rel i:eyf', genersil
                                                       .      and. speci:al...; l_e:gal
               and .equita:ble),; to which ,Plaintiff may show herself j.ustly
               eiititl.ed and fo:r whioh dhe for.ev:er: prays..

                                         Aespectfully :su.bmi.tted,




                                                    for :Plaintiff,,

                                             .5:.
Case 4:21-cv-01170 Document 1-1 Filed on 04/09/21 in TXSD Page 6 of 6




                                JULIA   .L .   C1RUZ.
                               State Bar No .. :0;0,84.4600
                               3:0.4: Jack;soin S≥t:r:eet.
                               Richniorid, T:exas 774,69
                               Phone.i 281 341 0530
                               Fax : 281 :3912'. 4275
                               E-mail:.jadamsattv@msn.com:




                                6.
